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                          Entered on Docket
                   5October 24, 2022
                ___________________________________________________________________
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                      17       Receivable Fund, LP

                      18
                                                     UNITED STATES BANKRUPTCY COURT
                      19
                                                               DISTRICT OF NEVADA
                      20

                      21      In re:
                                                                             Case No.: 21-14486-abl
                      22      INFINITY CAPITAL MANAGEMENT, INC.              Chapter 7
                      23                       Debtor.                       Adversary Case No. 21-01167-abl
                      24
                                                                             DEFENDANT’S EX PARTE MOTION
                              HASELECT-MEDICAL     RECEIVABLES               TO EXCEED PAGE LIMIT
                      25
                              LITIGATION     FINANCE      FUND               FOR REPLY TO PLAINTIFF
                      26      INTERNATIONAL SP,                              HASELECT-MEDICAL
                                                                             RECEIVABLES LITIGATION
                      27                       Plaintiff,
                                                                             FINANCE FUND INTERNATIONAL
                      28
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                              Case 21-01167-abl       Doc 130    Entered 10/24/22 09:23:16       Page 2 of 3


                        1     v.                                                SP’S OPPOSITION TO TECUMSEH-
                                                                                INFINITY MEDICAL RECEIVABLE
                        2     TECUMSEH-INFINITY                  MEDICAL        FUND, LP’S MOTION FOR
                              RECEIVABLES FUND, LP,                             PARTIAL SUMMARY JUDGMENT
                        3
                                                                                AS TO CERTAIN DISPUTED
                                                Defendant.                      RECEIVABLES
                        4

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                              TECUMSEH-INFINITY                  MEDICAL
                        6     RECEIVABLES FUND, LP,                             Date: ExParte
                        7                                                       Time: ExParte
                                                Counter-Claimant,
                        8     v.
                        9     HASELECT-MEDICAL     RECEIVABLES
                      10      LITIGATION     FINANCE      FUND
                              INTERNATIONAL SP,
                      11
                                                Counter-Defendant.
                      12

                      13      HASELECT-MEDICAL     RECEIVABLES
                              LITIGATION     FINANCE      FUND
                      14
                              INTERNATIONAL SP,
                      15
                                                Counter-Claimant
                      16
                              v.
                      17
                              TECUMSEH-INFINITY                  MEDICAL
                      18      RECEIVABLES FUND, LP,
                      19                        Counter-Defendant.
                      20

                      21             The Court having considered Tecumseh–Infinity Medical Receivable Fund LP’s Ex Parte

                      22      Motion to Exceed Page Limit for Reply to Plaintiff HASelect-Medical Receivables Litigation

                      23      Fund International SP’s Opposition to Motion for Partial Summary Judgment as to Direct Purchase

                      24

                      25      …

                      26      …

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                              Case 21-01167-abl       Doc 130     Entered 10/24/22 09:23:16        Page 3 of 3


                        1     Receivables 1 (the “ExParte Motion”), and good cause appearing therefore:

                        2            IT IS HEREBY ORDERED that the Ex Parte Motion is GRANTED, and Tecumseh may

                        3     file its Reply to Opposition in excess of the page limits in LR 9014(e) to include a maximum of

                        4     up to twenty-five (25) pages of factual and legal analysis and arguments.

                        5            IT IS SO ORDERED.

                        6     PREPARED AND SUBMITTED:

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                      18      Receivables Fund, L.P.
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                                All capitalized terms take on the meaning ascribed to them in the Motion, unless otherwise
                      28      defined herein.
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